        Case 3:17-cv-02918-SI Document 79 Filed 02/15/19 Page 1 of 2


 1   Zachary M. Best, SBN 166035
     MOORE LAW FIRM, P.C.
 2   332 North Second Street
     San Jose, California 95112
 3   Telephone: (408) 298-2000
     Facsimile: (408) 298-6046
 4   E-mail: service@moorelawfirm.com
 5   Attorneys for Plaintiff
     Francisca Moralez
 6
 7
 8                               UNITED STATES DISTRICT COURT
 9
                               NORTHERN DISTRICT OF CALIFORNIA
10
11   FRANCISCA MORALEZ,                             ) No. 3:17-cv-02918-SI
                                                    )
12                  Plaintiff,                      ) PLAINTIFF’S NOTICE OF
                                                    ) SETTLEMENT; [PROPOSED] ORDER
13          vs.                                     )
                                                    )
14   HOME DEPOT U.S.A. dba THE HOME                 )
     DEPOT, et al.,                                 )
15                                                  )
                    Defendants.                     )
16                                                  )
                                                    )
17                                                  )
18          Plaintiff, Francisca Moralez (“Plaintiff”), advises the Court that she and Defendants
19   reached a settlement of Plaintiff’s claims for equitable relief and damages. In their settlement,
20   the Parties reserved the matter of Plaintiff’s claims for attorneys’ fees, costs, and litigation
21   expenses for a subsequent motion to the Court within 60 days of the date the matter is
22   dismissed, with the Court to retain jurisdiction over the action for purposes of resolving that
23   motion.
24          The Parties have circulated the Settlement Agreement, the terms of which have been
25   accepted by all Parties, but for which one Defendant’s signature is outstanding but anticipated
26   to be obtained shortly. The Settlement Agreement predicates dismissal of this action upon the
27   performance by Defendants of one condition on or before March 5, 2019. Plaintiff therefore
28   requests that the parties be given to and including March 12, 2019 within which to file a

                                  PLAINTIFF’S NOTICE OF SETTLEMENT;
                                          [PROPOSED] ORDER


                                                 Page 1
        Case 3:17-cv-02918-SI Document 79 Filed 02/15/19 Page 2 of 2


 1   stipulation for dismissal of the action with attendant request that the Court retain jurisdiction
 2   over the matter for purposes of resolving Plaintiff’s claim for attorney’s fees and costs, such
 3   motion to be brought within 60 days of the Court’s dismissal of the action.
 4            Plaintiff further respectfully requests that the trial of this matter set to commence on
 5   March 11, 2019, and all attendant pre-trial and settlement conference requirements, be vacated
 6   in light of this settlement.
 7
 8   Dated: February 14, 2019                       MOORE LAW FIRM, P.C.
 9                                                  /s/ Zachary M. Best
                                                    Zachary M. Best
10                                                  Attorneys for Plaintiff,
11                                                  Francisca Moralez

12
                                                   ORDER
13
              Upon notice by Plaintiff that this matter has settled, and good cause appearing,
14
              IT IS HEREBY ORDERED that the Parties file their Stipulation for Dismissal of the
15
     Action on or before March 12, 2019, or alternatively show good cause why that deadline cannot
16
     be met.
17
              IT IS FURTHER ORDERED that all settlement, pre-trial and trial dates set in this
18
     matter are VACATED.
19
20
     IT IS SO ORDERED.
21
22
23
     Dated:          2/14/19
24                                                  SUSAN ILLSTON
                                                    SENIOR UNITED STATES DISTRICT JUDGE
25
26
27
28

                                    PLAINTIFF’S NOTICE OF SETTLEMENT;
                                            [PROPOSED] ORDER


                                                   Page 2
